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                                          U.S. Department of Justice


                                          United States Attorney
                                          District of New Jersey



                                          402 East State Street, Room. 430                 609-989-2190
                                          Trenton, New Jersey 08608




                                          January 2, 2025

     Hon. Robert Kirsch
    United States District Judge
     Clarkson S. Fisher Federal Bldg.
     8s United States Courthouse
    402 East State Street, Rm. 4W
    Trenton, NJ 08608

           Re: United States v. Moshe Silber, Crim. No. 24-446 (RK); United
                States v. Fredrick Schulman, Crim. No. 24-497 (RK}

    Dear Judge Kirsch:
           Please accept this letter as the Government's formal request for
    permission to file a brief in response to the sentencing memos submitted on
    December 27, 2024, in both United States v. Moshe Silber, Crim. No. 24-446
    (RK) and United States v. Fredrick Schulman, Crim. No. 24-497 (RK). If granted
    such permission, the Government will file such brief no later than 5 days prior
    to sentencing, in accordance with the Amended Standing Order 2020-01.



                                                   Respectfully submitted,
                                                   VIKAS KHANNA
                                                   Attorney for the United States
                                                   Acting under Authority Conferred
                                                   by28U.S.C. § 515

SOORDEfUED
                                          By: s/ Sin Moore
                                                Siji Moore
                                                   Trial Attorney, Fraud Section
Robert Kirsch, U.S.D.J.                            Fraud Section
Date: / /;, j--.^
                                                   s/ Ma^^ K. Nye
                                                   Martha K. Nye
                                                   Assistant United States Attorney
                                                   District of New Jersey

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